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                                                                         AmerisourceBergen Corporation
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                                                                         Valley Forge, PA 19482

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                                                                         Chesterbrook, PA 19087-5594

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                                                                          Memorandum

         To:           Distribution Center Associates
         CC:           Trevor Mclinn, Steve Mays, Debbie Swartz, Mary Fox, Scott Johnson
         From:         Chris Zimmerman, Frank Napoli
         Date:         June 29, 2007
         Subject:      UPDATE: OMP Distribution Center Procedures


         In an effort in improve AmerisourceBergen's (ABC) ability to monitor suspicious
         orders, ABC is implementing a new Controlled Substance/Listed Chemical Order
         Monitoring Program (OMP). This new program is designed to minimize the
         amount of manual maintenance required and will provide ABC with more clearly
         defined parameters as to the definition and identification of a suspicious order.
         This new program will also allow ABC to review, release, or cancel potentially
         suspicious orders before they are shipped to customers. This will result in
         greater control by the Distribution Centers (DCs) and ABC corporate over the
         quantity of product that customers are authorized to order. OMP supplements
         due diligence performed to open a new account and ABC's obligation to "know
         your customer." Also, associates must still report unusual factors that raise
         suspicions-even if an order is below OMP thresholds.

         OMP will classify each customer based on specific criteria. Customers will be
         grouped by their DEA classification, such as Hospital/Clinic, Retail, Practitioner,
         Distributor, etc. Within these classifications, ABC will then classify an account as
         either Small, Medium or Large based on its monthly sales volume. A
         pre-determined threshold will be set for each classification of customer for each
         of the selected drugs in a Generic Code Number (GCN), such as Hydrocodone,
         Benzodiazepine or Phentermine.

         OMP will use customer criteria to monitor sales of families of drugs on a monthly
         basis. When a customer order of a GCN item exceeds the established threshold,
         the order for that item will go into OMP Review. Once an order is in OMP
         Review, the DC will have the opportunity to review the order and take appropriate
         action.

         The OMP Review process is a new DC requirement that must be conducted
         daily/nightly. During the review process, the DC will either release the order to
         be picked and shipped, cancel the order, or flag the order to be reviewed by
         Corporate Security and Regulatory Affairs (CSRA).


                                                                 17-MDL-2804

                                                             PLAINTIFFS TRIAL
CONFIDENTIAL                                                     EXHIBIT                       ABC-MSAGC00000075
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER            P-00187_00001                         ABDCMDL00000075
                                                                                                    P-00187 _00001
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           If an order is released or cancelled, the DC must enter a code and/or free form
           text to indicate why the action is being taken (see pp. 4-5). The system will log
           the user ID, date and time of any action taken. Any order not released or
           cancelled will be electronically submitted to CSRA to review the following
           business day (and CSRA may cancel or release it, or hold it for further
           investigation). Orders that are investigated by CSRA will be reported to the Drug
           Enforcement Administration (DEA). CSRA will also review released and
           cancelled orders to confirm they are being handled consistently and
           appropriately. All subsequent orders that continue to exceed the monthly
           threshold will be rejected from processing until the OMP held item is released.
           The reason for this rejection will be relayed to the customer as a "Not Serviced"
           message on the customer invoice.

           All customer thresholds and criteria can be modified and are subject to change
           by CSRA at any time.

                                  OMP SCREEN SHOTS AND INSTRUCTIONS

           Identified below are sample screen shots and instructions for the DC to follow
           during the OMP review process.

           This screen can be accessed from menu option B25D#18 or C17M#10. This will
           allow access to the OMP HOLD REVIEW I RELEASE screen. This screen will
           display all orders on OMP Hold in ascending customer number, order date, and
           OMP family Item Code sequence. The user will enter "S" to select a customer
           order for review.

           B250041RG-S01                     AmerisourceBergen                       6/21/07
            ZI17090                       OMP Hold Review I Release                  20:15:55
            CF 06/11/07                                                              Div: 040

            Reposition to Customer: 000-000000               Display Only Status:
                                                                              OMP OMP
            S    Customer    Ship-To Name                     Ord Date  DEA#  Fam Lines Stat
                020-000984   FIRST CHOICE/SMITH'S #424       2007-06-18
                                                                     BS6629678 Al     1
                020-000984   FIRST CHOICE/SMITH'S #424       2007-06-18
                                                                     BS6629678 Cl     1
                020-024117   GOOT'S #1 UNITED #877           2007-06-18
                                                                     BG5758137 Al     1
                020-024117   GOOT'S #1 UNITED #877           2007-06-18
                                                                     BG5758137 Dl     2
                020-024117   GOOT'S #1 UNITED #877           2007-06-18
                                                                     BG5758137 El     1
                020-024141   GOOT'S PHARMERICA-PCA           2007-06-18
                                                                     BG5758113 Al     1
                020-024141   GOOT'S PHARMERICA-PCA           2007-06-18
                                                                     BG5758113 Cl     2
                020-024141   GOOT'S PHARMERICA-PCA           2007-06-18
                                                                     BG5758113 Dl     1
                020-029512   *SUNSITES CLINIC DRUG           2007-06-18
                                                                     BU1394939 Cl     1
                020-029587   FEDERAL PRISON CAMP EL PASO     2007-06-18
                                                                     BF2210691 Dl     2
                020-030684   VA MEDICAL CENTER (OUTPT PHY)   2007-06-18
                                                                     AG3307724 Cl     2
                020-030684   VA MEDICAL CENTER (OUTPT PHY)   2007-06-18
                                                                     AG3307724 Dl     1
                020-030742   CARL T HAYDEN VA MED CTR (OP)   2007-06-18
                                                                     AC4260701 Cl     1
                020-030742   CARL T HAYDEN VA MED CTR (OP)   2007-06-18
                                                                     AC4260701 Dl     1
                                                                                     More ...
                   F3-Exit, F4-Cust Inquiry, F5-Refresh     S-Select for Detail Display
                                  (C) Copyright 2007, AmerisourceBergen




           The "Reposition to Customer" field will give you the ability to position the screen
           on a particular customer. If you are unsure of the customer number you can
           place the cursor in the field and press F4 for customer inquiry. This will allow the
                                                             2


CONFIDENTIAL
                                                                                                ABC-MSAGC00000076
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   ABDCMDL00000076
                                                                                                     P-00187 00002
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          user to search for a customer and return the customer number back to the OMP
          Review I Release screen. The Customer Inquiry screen is displayed below:

          B70025-S001             AmerisourceBergen        Division 012                                         6/06/07
           DOP2401                          CUSTOMER INQUIRY/SELECTION                                          09:53:35
           THU Run: 2                                                                                           6/07/07

               Customer#    Name. . . . . . . . . . . . . . . . . . . . . . . . . . DEA# .....
                                                                                                 Phone Number   RTE STP

             012-001024 * GNP ZONE PRICING 1-2                                    M58 NOW
              012-001032 * GNP ZONE PRICING 3-4                                   M59 NOW
              012-001255 * LONGSD                                                 M60 NOW
             012-000802 * MSI RETURN GOODS CAGE        RA0289050                  M61 NOW
              012-001297 * UNITED DRUG CP FILE                                    M62 NOW
              012-001701 * VONS #01 CP FILE                                       M63 NOW
             012-001651 * VONS #02 CP FILE                                        M64 NOW
             012-001305 * VONS #03 CP FILE                                        M65 NOW
              012-001404 * VONS #05 CP FILE                                       M66 NOW
             012-001453 * VONS #06 CP FILE                                        M67 NOW
             012-001503 * VONS #07 CP FILE                                        M68 NOW
              012-001552 * VONS #08 CP FILE                                       M69 NOW
              012-001800 * VONS APS CP FILE                                       M70 NOW
             012-082412 * ABBOTT PHARMACEUTICALS                                  M71 NOW
              024-012112 * ABBOTT PHARMACUETICALS                 1 559 442 6555 M72 NOW
           - COPYRIGHT 2004, AMERISOURCEBERGEN CORPORATION ------------------------------
           Fl=HELP, F3=EOJ, F7=View Salesman, FlO=View, F12=Exit, ENTER, ROLL, "S"elect


          When a customer is selected from the OMP Review I Release screen the
          corresponding order detail will be displayed.

               1. Customer number and customer ship-to name.
               2. Customer DEA number.
               3. Customer DEA type description: Hospital/Clinic, Retail, Distributor,
                  Practitioner, etc.
               4. Customer DEA size code: (S)mall, (M)edium, (L)arge
               5. OMP item family and class code.
               6. Alloc: Allocated monthly quantity to date
               7. Revw: Quantity on OMP Review
               8. Max: Customer monthly threshold for item
               9. Ovr%: Percent ordered quantity exceeds threshold
            B250042RG-S02                              AmerisourceBergen            6/21/07
           ZI17090                                 OMP Hold/Review/Release        20:19:03
           CF 06/11/07                                                            Div: 040
                                                                          Alloc:      12000
           Cust: 020-053173 DEMING HOSP.CORP/DEA MIMBRES   DEA# BD4954005 Revw.:     91 7235
           DEA Cust Type ... :                              Cust Size: L Max .. :       5000
           OMP Item Family.: TEST DESCRIPTION OF FULL VALUE Family CD: Zl Ovr%:    18484.70
           Initial OMP Failure: Exceeded The OMP Customer/Item Family Threshold

           s    Qty     Item#    Description                               Reason                                Units
                      6 275+297 ALP?AZOLAM 0.25MG TAB 500      400105 MYL                                         3000
                   7   262-527 MORPH SUL 20MG/ML SOL 120ML     088603 EHX                                          840
                  99   001+248 HYDROCOD/GUA 5/100 MG EXP 160Z 01594 TEV
                  99   001+293 HYDROCOD/APAP 10/660 MG TAB 100 0567 WSN                                           9900
                  99   001r776 M-CLEAR SYR 160Z                071016 RAC                                        47520
                  99   002-093 DURATUSS HD ELX 160Z            040016 VRM                                        47520
                  99   004r251 CODICLEAR DH SYR 118ML          013404 VRM                                        11880
                  99   006+098 BUTALB/ASA/CF 50/325/40 CAP 100 1439 URL                                           9900
                  99   006+421 FIORICET/COD 30MG CAP 100       095801 WAT                                         9900
                  99   006+440 FIORINAL/COD 30MG CAP 100       095601 WAT                                         9900
                  99   006-580 M-CLEAR SYR 473ML               071516 RAC                                        47520
                  99   006+924 NU CO FED CHERRY EXP 160Z       001616 MNR                                        47520 +
                              F3=Exit, Fll=Drop, F12=Previous, F2l=Update All
                                     (C) Copyright 2007, AmerisourceBergen

                                                                              3


CONFIDENTIAL                                                                                                               ABC-MSAGC00000077
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                              ABDCMDL00000077
                                                                                                                                P-00187_00003
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          In this screen the user can select an item to be released or cancelled by
          selecting an item and pressing F10. To select all items press F21.

          Once an item has been selected and accepted the OMP HOLD REVIEW I
          RELEASE - UPDATE screen will appear. Here the user must enter an action
          code and free form text. Key action code and press ENTER.

          The codes should be used in the following situations:

         AD = Approved By Div - Allocate
          • This code should be used by the DC associate during the initial review. If the
            DC associate determines that the order quantity is not suspicious (based on
            the "know your customer" philosophy) the order can be released. "Know your
            customer" means knowing which accounts are hospitals, DoD accounts, the
            warehouse for a chain or grocery customer, or another large customer that
            has a known legitimate and well-established need for high volumes of
            controlled drugs and listed chemicals.
         • You will receive information on an ongoing basis from CSRA that will help you
            make appropriate determinations. When in doubt, do not release an order so
            that CSRA can review it. "Know your customer" begins when a new account
            is opened, which under new procedures cannot happen until CSRA reviews
            detailed information about the account.
         • Approval of a non-suspicious order is appropriate in an emergency - although
            a confirming phone call or other action may be appropriate (or information
            may originate with a customer calling ABC with the reason for an unusual
            order).
         • Unless there are unusual factors, approval may be appropriate for DoD
            accounts, hospitals, Medco, PMSI, PharMerica, Kindred, Kaiser, warehouse
            for a chain or grocery customer, central fill pharmacies and other large, well-
            known accounts, particularly if an order takes a customer just over its
            threshold at the end of a month. Remember: Report unusual factors that
            raise suspicions.
         • Such exceptions should be rare for retail and alt care pharmacies, particularly
            after thresholds are adjusted to reflect individual customer buying patterns.
         • When in doubt, orders should be held for CSRA review.
         • Any Dept. of Defense (DOD) order that is in OMP Review and approved
            to be released will have to be cancelled and re-entered with a new call
            number if you have already run invoices for the night.

         CD = Cancelled By Div
         • This code should be used by the DC associate during the initial review if you
           determine that the order is not suspicious but should be cancelled because,
           for example, the order quantity is obviously not correct based on prior
           purchases. See discussion (above) about "know your customer" philosophy.

         After you enter the code, you should document the action you are taking by
         entering a comment in the "Comment" field. The reason why you are taking the
         action or the name of the associate who instructed you to take the action should
         be entered in this field.
                                                  4



CONFIDENTIAL                                                                          ABC-MSAGC00000078
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                         ABDCMDL00000078
                                                                                           P-00187_00004
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           B250042RG-S02                    AmerisourceBergen                      6/21/07
          Zil 7090                      OMP Hold/Review/Release                  20:19:03
          CF 06/11/07                                                            Div: 040
                                                                         Alloc:      12000
          Cust: 020-053173 DEMING HOSP.CORP/DEA MIMBRES   DEA# BD4954005 Revw.:     917235
          DEA Cust Type ... :                              Cust Size: L Max .. :      5000
          OMP Item Family.: TEST DESCRIPTION OF FULL VALUE Family CD: Zl Ovr%:    18484.70
          Initial OMP Failure: Exceeded The OMP Customer/Item Family Threshold

             Qty        Item#   Description                              Reason   Units
                   99   001+293 HYDROCOD/APAP 10/660 MG TAB 100 0567 WSN           9900

             Enter the Review Action Code and Optional Comment
             AC = Approved By CSRA - Allocate     CC = Cancelled By CSRA
             AD = Approved By Div - Allocate      CD = Cancelled By Div

             Code (?) :
             Comment:




                                               F12=Previous
           .                                                                             .
           ...............................................................................
         The "F21- Update All" will allow you to enter a code for all of the records on the
         screen. Here the user must enter an action code and free form text. Key action
         code and press ENTER.

         There is an additional action code on this screen for you to use to flag the order
         to be investigated by the CSRA Department.

          IN = Investigate - Transmit to CSRA
           • This code should be used after the initial review by the DC associate to
             identify that orders lines should be investigated by CSRA. These order lines
             will be transmitted to CSRA during the Star End of Day (EOD) process and
             will be marked "CSRA" to indicate they have been sent.

          The following codes are used by CSRA in the following situations:

         AC = Approved By CSRA - Allocate
          • This code should be used when you receive notification back from CSRA that
            an order was investigated and approved to release.
          • Any Dept. of Defense (DOD) order that is in OMP Review and approved
            to be released will have to be cancelled and re-entered with a new call
            number.

          CC =Cancelled By CSRA
          • This code should be used when you receive notification back from CSRA that
            an order was investigated and should be cancelled.




                                                         5



CONFIDENTIAL                                                                                 ABC-MSAGC00000079
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                ABDCMDL00000079
                                                                                                  P-00187_00005
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            B250042RG-S02                    AmerisourceBergen                       6/21/07
           Zil 7090                      OMP Hold/Review/Release                   20:20:48
           CF 06/11/07                                                             Div: 040
                                                                          Allee:       12000
           Cust: 020-053173 DEMING HOSP.CORP/DEA MIMBRES   DEA# BD4954005 Revw.:      917235
           DEA Cust Type ... :                               Cust Size: L Max .. :      5000
           OMP Item Family.: TEST DESCRIPTION OF FULL VALUE Family CD: Zl Ovr%:     18484.70
           Initial OMP Failure: Exceeded The OMP Customer/Item Family Threshold

              Update all of the OMP held records for this customer and OMP item faimily
              code with the review action code and optional Comment below.
              AC   Approved By CSRA - Allocate     CC   Cancelled By CSRA
              AD   Approved By Div - Allocate      CD = Cancelled By Div
              IN   Investigate - Transmit to CSRA

              Code (?) :
              Comment:




                                   F3=Exit, FlO=Update All, Fl2=Previous
           .                                                                             .
           ...............................................................................

          Once an action code has been entered and ENTER has been pressed a
          confirmation screen will appear. Press F21 to confirm action.

          B250031-S002                      AmerisourceBergen                         09:17:52
            6/06/07                   OMP HOLD REVIEW I RELEASE -                       Units
                                                                            Sales:   123456789
          Cust: 012-000547 TEPLOW DRUGS                     DEA# PM0120674 Held.:    123456789
          DEA Customer type: 123456789012345678901234567890 Cust size: M Max .. :    123456789
          OMP Item Family .. : 123456789012345678901234567890 Family CD: Cl Over.:    9999.99%

                   Update all of the OMP held records for this customer and OMP item family
                   Code with the review action code and optional comment below.

                   CODE(?): AP   Approve Order - Release to allocate

                   Comment: 12345678901234567890123456789012345678901234567890
                            12345678901234567890123456789012345678901234567890
                            12345678901234567890123456789012345678901234567890
                            12345678901234567890123456789012345678901234567890



                             (C)  Copyright 2004, AmerisourceBergen
           Enter     F4=(?)Search Fl2=Previous F21=Apply code and comment to all records




                                                         6



CONFIDENTIAL                                                                                     ABC-MSAGC00000080
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    ABDCMDL00000080
                                                                                                      P-00187_00006
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          Screen B25A #6 will display the total number of lines a customer currently has on
          OMP Review.

          B25081-S002                       AmerisourceBergen                        23:32:30
           6/26/07                    CUSTOMER ORDER STATUS INQUIRY
                                           ORDER HELD DISPLAY

            Customer # Customer Ship-to-Name    Process Date/Time Seriesl Date/Time
            049-122259 AMERISOURCEBERGEN -ECH   06/26/07 23.27.32 Multi-Header Ord.
            Member Info:  DONE      B232732CSO 06/27/07 23.27.48
            Total Lines/Order:             Origin: Cust Service Order        Retn:

            Number of Lines Filled/Held For:
             OMP Review ..... :  13  (Total Number of Lines in OMP Review)




                            (C)   Copyright 2004, AmerisourceBergen
          Fl=HELP      F3=Exit    FlO=Display Detail   Fl2=Previous Screen


          If two users try to access the same item in OMP Review the screen below will be
          displayed:

            B250043RG-S001                    AmerisourceBergen                        6/21/07
           Zil 7090                      OMP Hold Review I Release                   20:21:22
           CF 06/11/07                            WARNING                            Div: 040
                                                                           Alloc:       12000
           Cust: 020053173 DEMING HOSP.CORP/DEA MIMBRES     DEA# BD4954005 Revw.:      917235
           DEA Customer-Type:                                 Cust Size L Max .. :       5000
           OMP Item Family .. : TEST DESCRIPTION OF FULL VALU Family Cd Zl Ovr%:     18484.70
           Intial OMP Failure: Exceeded The OMP Customer/Item Family Threshold


                    The current status of this record is IN USE and is not available.
                    The record was last updated by user ZI17090    at 20:19:02 on 07/06/21


                    These records are currently under OMP review by the user shown above.




                                                F12=Previous
                                    (C) Copyright 2007, AmerisourceBergen


                            AVAILABLE CUSTOMER OMP STATUS REPORTS

          The four following reports can be generated using OMPQRYCL (Call
          OMPQRYCL) from STAR Command Line.

                    1) OMP activity report by Customer.
                    2) OMP activity report by OMP item family.
                    3) OMP Customers that have exceeded an OMP item family threshold.
                    4) OMP Customers that are between 90% and 100% of an OMP item
                    family threshold.


                                                          7


CONFIDENTIAL                                                                                     ABC-MSAGC00000081
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    ABDCMDL00000081
                                                                                                      P-00187_00007
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                                         PHASE 1 vs. PHASE 2
                          PHASE 1                                    PHASE 2
          Reserved orders can not be used in        Reserved orders can be used in CSO.
          CSO. Customer will receive message
          indicating such.
          If a customer is set-up to always Alt     The accumulated monthly quantity will
          Serv for a particular item, the           only build in the home DC.
          accumulated monthly quantity will build
          separately in both DC's.
          Query OMPQRYCL will provide activity A daily "Activity Report" will print each
          reporting based on customer and           day in the DC to list all orders that are
          based on OMP item family, including        on review, cancelled, or released in
          customers approaching or exceeding         OMP. A copy of this report will also be
          thresholds.                               sent to CSRA. (Implementation will be
                                                    shortly after Phase 2.)


                                         MISCELLANEOUS

          • All new customers are set-up to default to "small".
          • The Item Family threshold accumulation by customer is not decremented
            when a credit is processed. It will be decremented when a fail to pick or order
            edit is done.
          • COE customers will see a new message for item family. If they perform a soft
            allocation they will get a message that says "dispatch to allocate."




                                                   9


CONFIDENTIAL                                                                           ABC-MSAGC00000082
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                          ABDCMDL00000082
                                                                                            P-00187_00008
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                                                                  Order Monitoring Process
                                                                          (OMP)




              Customer Submits
                   Order



                                                                                               Business Rules:
                                                                                               -DEA Business Type
          Lo, Flfl Fl Fl Fl El El I                                     Does Order
                                                                         Pass Initial
                                                                                                  - Account Size

              DC Receives Order
                                      System Interrogates Order
                                         Via Process Rules
                                                                                    .
                                                                       Interrogation?
                                                                                             - Usage Based on other
                                                                                               Like Business Types
                                                                                                -By GCN, by Dose




                                                                                                                                               Hold
                                                                                                                                              Current
                                                                                                                                              and all
                                                                                                                                              Future
                                                                                                                                              Orders
                                                                                                                                               rrom
                                                                                                                                             Customer
                                                                                                                                              ·of like
                                         Report                                                                                                items.
                                      Transaction ..;(
                                      Via ARCOS                                                                                    AccepU
                                                                                                                                   Approve
                                                         Process Order as Nonnal                                                    Order




                                                                                                                        CSRA
                                                                                                                       Reports
                                                                                                                      suspicious
                                                                                                                       orders to
                                                                                                                         DEA




                                                                                        10


CONFIDENTIAL                                                                                                                                      ABC-MSAGC00000083
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                     ABDCMDL00000083
                                                                                                                                                       P-00187_00009
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                                               DEA Notification Process


                                                             The daily Feed Flagged action will create a Folder for each
                                                             customer for the daily basis.
                                                             This folder we keep all items for that customer that are on
                                                             hold status and will pass it through a business Process for
                                        ~                    review and notification.
                                    Dail_1.1 Feed




                  ~    ______..--_______________ r         ~

              Review   Da~'*f:· ~ompliant Customer
                                      Initial lnvesJation Stage

                                                    ~         ~fon ~?rn~liant Action will also S_end




                                                     1
                                             Non Compliant    a Notrflcatron to DEA .3bOL~t the rtem



                    ~
              Review Checklist
                                                                            "' "'"' " '~" " "' ' ' "' ' m= ' " " '" -~
                                                             '=on""""hol=d""'


                                                                                                           Add Notes




                                                                                                                       )
                                                                                                               Comments
                                                                                                                           ..
                                                                                                               \~)
                                                                                                           Notif_1.1   E~ternal
                                                Complete




                                                                  11



CONFIDENTIAL                                                                                                                      ABC-MSAGC00000084
HIGHLY CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                     ABDCMDL00000084
                                                                                                                                       P-00187 _00010
